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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP, BI-              Master Docket: Misc. No. 21-mc-1230-JFC
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS                            MDL No. 3014
 LITIGATION

 This Document Relates to:
 King v. Cornerstone Medical Services—
 Midwest LLC, et al., No. 2:24-cv-01693


  PLAINTIFFS’ RESPONSE IN OPPOSITION TO PRO SE PLAINTIFF DERRICK
 MARTIN KING’S MOTION TO STAY PROCEEDINGS PENDING RESOLUTION OF
 CASE IN THE UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT

       Plaintiffs submit this response in opposition to pro se Plaintiff Derrick King’s Motion to

Stay Proceedings. In August of 2024, King v. Cornerstone Medical Services, et al., 5:24-cv-

01344, was removed on motion by Defendant Philips RS North America, LLC (“Philips”) from

the Summit County Court of Common Pleas to the Northern District of Ohio. Plaintiff King’s

subsequent motion to remand his case was denied. He then petitioned the Court of Appeals for

the Sixth Circuit for a writ of mandamus to reverse removal. In the same motion, he requested a

writ of prohibition to prevent the transfer of his case to this Court for coordinated or consolidated

proceedings with In re: Philips Recalled CPAP, Bi-Level Pap, and Mechanical Ventilator

Products Litigation, MDL No. 3014 (“In re: Philips”).

       On December 12, 2024, the Judicial Panel on Multidistrict Litigation (“JPML”) granted

Philips’s motion to transfer King v. Cornerstone Medical Services, et al. to this Court. In re:

Philips, ECF 3066. King has filed a Motion to Stay Proceedings in this matter until the Sixth

Circuit rules on his petition for writs of mandamus and prohibition. ECF 3068. For the following

reasons, King’s Motion to Stay should be denied.
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                                         LEGAL STANDARD

          “The decision whether to grant a stay is within the district court’s discretion because it is

a matter of the court’s inherent power to conserve judicial resources by controlling its own

docket.” Destination Maternity Corp. v. Target Corp., 12 F. Supp. 3d 762, 766 (E.D. Pa. 2014)

(quotations omitted). District courts generally consider four factors in determining whether to

grant a stay: (1) the length of the requested stay, (2) the hardship that the moving party would

face in going forward with the litigation, (3) the injury that a stay would cause the non-moving

party, (4) and whether a stay will simplify issues and promote judicial economy. See, e.g.,

Bylsma v. Adams Cnty. Dist. Attorney’s Off., No. 1:20-CV-00831, 2021 WL 8362041 (M.D. Pa.

June 17, 2021).

                                             ARGUMENT

          This Court should deny King’s Motion to Stay because all four of the factors articulated

in Bylsma weigh against it. Furthermore, the Sixth Circuit is very unlikely to reverse the

Northern District of Ohio’s denial of King’s motion to remand. As the JPML’s transfer of King’s

case to the Western District of Pennsylvania is complete, his petition for a writ of prohibition is

moot. See In re: Derrick Martin King, 24-3851 (6th Cir.), Doc. No. 1-2, at 11–12 1 (portion of

King’s petition indicating that his requested writs were to prevent the JPML’s consideration of

whether to transfer his action). In any event, King’s petition to the Sixth Circuit for writs of

mandamus and prohibition are not valid grounds for a stay.




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    Also available at In re: Philips, ECF 3068-1, pp. 12–13.
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         I.      The Balance of Factors Weighs Against a Stay.

              A. Length of Stay

         Courts consider the length of stay requested when ruling on motions to stay proceedings.

Bylsma, 2021 WL 8362041 at *1. King has moved for a stay of proceedings “until the Sixth

Circuit has determined the pending case before it.” ECF 3068 at 3. Neither King nor this Court

knows when the Sixth Circuit will rule on his petition. King has in effect requested an indefinite

stay.

         Multidistrict litigations are intended to streamline pretrial proceedings where many cases

arise from the same circumstances. If proceedings in In re: Philips are stayed indefinitely,

efficient judicial administration of Plaintiffs’ claims will be impossible. Any administrative

speed derived from conducting pretrial proceedings through a multidistrict litigation will be

eliminated. The length of stay requested therefore weighs heavily against granting Plaintiff

King’s motion.

              B. Hardship to King

         The JPML recognizes that transfer can impose a greater burden on certain parties.

Nonetheless, the benefit to all parties outweighs hardship to a single litigant. The JPML also

considers the convenience to witnesses and other participants in the proceedings when ordering

transfer. The JPML has stated: “While we are aware that centralization may pose some

inconvenience to some parties, in deciding issues of transfer under Section 1407, we look to the

overall convenience of the parties and witnesses, not just those of a single plaintiff or defendant

in isolation.” In re: Watson Fentanyl Patch Prods. Liab. Litig., 883 F. Supp. 2d 1350, 1351–52

(J.P.M.L. 2012).




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       The interests of one plaintiff do not outweigh those of the remaining parties. In

requesting a stay, Plaintiff King asks this Court to prioritize his case over the multitude of claims

that make up this multidistrict litigation. To grant a stay would be contrary to the JPML’s policy

of prioritizing the interests of all parties. King’s motion does not explain how proceeding in this

Court would impose a hardship, arguing only that King has “already been prejudiced” because,

but for the removal of his action to federal court, “King would have received discovery and the

case would be further along.” ECF 3068 at 4. Additionally, any inconvenience posed by the

forum will be remedied when pretrial proceedings have concluded and this Court remands

King’s case to its transferor court, the Northern District of Ohio. Thus, the hardship to King

posed by transfer of his case is relatively minimal and does not warrant a stay of proceedings.

           C. Injury to Non-Moving Parties

       The procedural inefficiency that would result from an indefinite stay undoubtedly

constitutes injury to the non-moving Plaintiffs. However, in a medical products liability action

such as In re: Philips, the injury would also be physical and financial. Many of the Plaintiffs in

this multidistrict litigation have undergone costly medical treatment for respiratory illnesses, the

most severe including lung cancer. See, e.g., ECF 16, ¶¶ 8–13, 122–126. The financial strain and

the illnesses suffered by Plaintiffs will compound with time. A stay would further delay the

proceedings which, due to the nature of the claims and the multitude of claimants, have already

lasted for years. The injury to the non-moving Plaintiffs would be more severe than simple

procedural inefficiency, and this fact weighs against a stay.

           D. Simplification and Judicial Economy

       The JPML stated in its final transfer order: “Like the actions in the MDL, King will

involve factual questions relating to the recall of the Philips CPAP devices and the alleged defect



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that can result in PE-PUR foam degrading or off-gassing and injuring the user.” ECF 3066 at 1.

King’s claims arise out of the same product recall and implicate the same facts and issues as

those of the Plaintiffs in In re: Philips. A stay pending resolution of his petition for remand

would complicate rather than simplify pretrial proceedings. The remand of his claim at this stage

would also expend judicial resources on a case that is substantially similar to the claims that

make up In re: Philips. This final factor weighs against a stay.

       II.     The Sixth Circuit Will Not Issue Writs in Response to King’s Jurisdictional
               Challenges.

       The Federal Circuit Courts generally cannot consider denial of a motion to remand on

appeal. The Supreme Court has found that “[a]n order denying a motion to remand, standing

alone, is [o]bviously . . . not final and [immediately] appealable as of right.” Caterpillar Inc. v.

Lewis, 519 U.S. 61, 74 (1996) (citing Chicago, R.I. & P.R. Co. v. Stude, 346 U.S. 574, 578

(1954)) (quotation marks omitted). The appropriate means of reviewing a federal district court’s

allegedly improper rulings on jurisdiction is a writ of mandamus. See, e.g., In re: Federal-Mogul

Global, Inc., 300 F. 3d. 368, 378 (3d Cir. 2002). However, a writ of mandamus is “is not a mere

alternative to an appeal” but rather “a drastic remedy that a court should grant only in

extraordinary circumstances in response to an act amounting to a judicial usurpation of power.”

In re Briscoe, 448 F.3d 201, 211 (3d Cir. 2006).

       Generally, a writ of mandamus will only issue if the lower court did not have the

authority to enter the challenged order. Carteret Sav. Bank, F.A. v. Shushan, 919 F.2d 225, 232

(3d Cir. 1990). The petitioner must further show that (1) there is no other adequate means to

attain the relief sought, and (2) the right to the writ is clear and indisputable. Even if these two

conditions are met, the reviewing court must decide in its discretion that the writ is appropriate




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under the circumstances. Cheney v. U.S. Dist. Court for Dist. of Columbia, 542 U.S. 367, 380–81

(2004) (internal citations and quotation marks omitted).

       The requirement that King have no other adequate means of seeking relief other than a

writ is not satisfied here. There are alternative courses of action available to him to challenge

federal jurisdiction over his case. Now that his action has been transferred to the Western District

of Pennsylvania, King can move for remand here in the transferee court.

       Further, King does not have a clear and indisputable right to a writ. “The traditional use

of the writ in aid of appellate jurisdiction at both common law and in the federal courts has been

to confine an inferior court to a lawful exercise of its prescribed jurisdiction or to compel it to

exercise its authority when it is its duty to do so.” Roche v. Evaporated Milk Ass’n, 319 U.S. 21,

26 (1943) (internal citations omitted). Even where issuance of a writ by a court of appeals is

appropriate, appellate courts hesitate to reverse decisions on jurisdictional questions that the

lower court was competent to decide and which are reviewable on appeal. Id. “[The Supreme

Court] has consistently refused to sustain the use of mandamus as a means of reviewing the

action of a district court in denying a motion to remand a cause to the state court from which it

had been removed.” Id.

       The Sixth Circuit must follow the precedent set by Roche and refuse to use mandamus to

review removal of King’s claim to the Northern District of Ohio. Federal district courts are

competent to deny motions to remand. Doing so is within its “lawful exercise of its prescribed

jurisdiction.” Roche, 319 U.S. at 26. King has raised his objection to jurisdiction several times,

so the issue is preserved for appeal following the final ruling on his claim. King is therefore not

entitled to the extreme remedy of a writ.




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       Because King v. Cornerstone Medical Services et al. has been transferred here and

centralized with the other actions comprising In re: Philips, King’s petition for a writ of

prohibition to prevent transfer is moot. A case is moot if the issues presented are “no longer

‘live’ or the parties lack a legally cognizable interest in the outcome.” Los Angeles Cnty. v.

Davis, 440 U.S. 625, 631 (1979). “Federal courts lack jurisdiction to decide moot cases because

their constitutional authority extends only to actual cases or controversies.” Iron Arrow Honor

Soc’y v. Heckler, 464 U.S. 67, 70 (1983) (internal citation omitted). Transfer is complete, leaving

no active case or controversy for the Sixth Circuit to decide.

       III.    The Western District of Pennsylvania Is the Appropriate Forum for King’s
               Motion to Remand.

       The centralization of King’s case with In re: Philips is proper. King maintains that the

Northern District of Ohio lacked subject-matter jurisdiction over his claim. He further claims that

the JPML does not have the authority to transfer a case from a court that lacks jurisdiction,

therefore the Western District of Pennsylvania is an improper forum for his case. However, the

JPML has “long held that jurisdictional objections generally do not present an impediment to

transfer and can be presented to the transferee judge.” In re: Nat’l Prescription Opiate Litig., 576

F. Supp. 3d 1378, 1380 (J.P.M.L. 2021).

       The appropriate means of challenging jurisdiction is to move the Western District of

Pennsylvania for a remand order. The Sixth Circuit will undoubtedly find the same. Circuit

Courts have held that “[o]nce transferred, the jurisdictional objections can be heard and resolved

by a single court and reviewed at the appellate level in due course . . . . We hold, therefore, that

the MDL Panel has jurisdiction to transfer a case in which a jurisdictional objection is

pending[.]” In re: Ivy, 901 F.2d 7, 9 (2d Cir. 1990). There is no need or purpose for staying these




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proceedings; King can simply present his jurisdictional arguments to this Court for

determination.

                                          CONCLUSION

       For the foregoing reasons, Plaintiff King’s Motion to Stay Proceedings should be denied.

The JPML’s decision to transfer and centralize King v. Cornerstone Medical Services, et al. with

In re: Philips is proper and there is no legal basis for the Sixth Circuit to issue writs of

mandamus or prohibition. The JPML has repeatedly held that “remand motions can be presented

and decided by the transferee judge.” In re Prudential Ins. Co. of Am. Sales Pracs. Litig., 170 F.

Supp. 2d 1346, 1347–48 (J.P.M.L. 2001). This Court should deny King’s Motion to Stay and

direct him to file a motion to remand in this forum if he so desires.



 Dated: January 6, 2025                                Respectfully submitted,

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